Case 2:04-Cv-02389-.]PI\/|-tmp Document 39 Filed 08/04/05 Page 1 of 2 Page|D 65

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IN THE UNITED sTATES DISTRICT coURT
WESTERN DISTRICT 0F TENNESSEE _ WESTERN I)IVISIUAUG -l» PH 3= 12
MA:AS i~'i. GOULD
stat 1a aaa fm
ARTURO AGUIRRE CRUZ, Individually) W‘@ “ 5 ‘ ""“"i"iPHES

and as Next of Kin to MAXIMINO
AGUIRRE, Deceased; MARIA LUZ
VENEGAS ESTRADA, Individually, as
Next of Kin to MAXIMINO AGUIRRE,
Deceased and on behalf of MARITZA
AGUIRRE VENEGAS, a minor; and
AURELIAN 0 VALDES BLAS,
Individually

PIaintiffs,

No. 04-2389-M1P
.]URY DEMAND

VS.

FORD MO'I`OR COMPANY

`/\¢/\-/\_/\_d\_#"/\.¢\_/\_/\._/W\.¢\_/\_d\_/V

Defendant.

ORDER FOR ADMISSION, PRO HAC VICE
This matter coming before the Court upon motion of Stephen A. Marcum, for the
admission pro hac vice of Alan Thomas, an attorney with the law firm of Huie,
Fernambucq and Stewart, LLP, Three Protective Center, Suite 200, 2801 Highway 280
South, Birmingham, Alabama 35223~2484, and the Court being advised:
IT IS HEREBY ORDERED that Alan Thomas, be permitted entry of appearance

on behalf of the Defendant Ford Motor Company, pro hac vice. OLQC`

Q,ham
DATE; Avj L} 2005’ nw

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This notice confirms a copy of the document docketed as number 39 in
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Honorable J on McCalla
US DISTRICT COURT

